         Case 3:20-cv-00448-VAB Document 47 Filed 11/17/20 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF CONNECTICUT
---------------------------------------------------------------x
DEBORAH LAUFER,                                                :
                                                               :
                  Plaintiff,                                   : Case No. 3:20-cv-00448-VAB
v.                                                             :
                                                               :
441 POST ROAD LLC,                                             :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x NOVEMBER 17, 2020

                       NOTICE OF SUPPLEMENTAL AUTHORITY

       The Defendant, 441 Post Road LLC, through its undersigned counsel, hereby

submits this Notice of Supplemental Authority in further support of its pending Motion to

Dismiss (ECF No. 21) to inform the Court of the recent decisions in the cases Laufer v.

Ft. Meade Hospitality, LLC, No. 8:20-CV-1974-PX, 2020 WL 6585955 (D. Md. Nov. 10,

2020), and Laufer v. Mann Hospitality, LLC, No. A-20-CV-00620-JRN, 2020 WL

6018945 (W.D. Tex. Sept. 30, 2020).

       Each case involves actions brought by Deborah Laufer, the same Plaintiff in the

present action, and consider claims and issues nearly identical to those before this

Court. In Ft. Meade Hospitality, LLC the Court denied the Plaintiff’s motion for a default

judgment and instead dismissed her claim for lack of jurisdiction because the Plaintiff

failed to plausibly allege that she suffered an injury that was sufficiently particularized,

concrete and imminent. Ft. Meade Hospitality, LLC, 2020 WL 6585955, at *4. Similarly,

in Mann Hospitality, LLC the Court granted the defendant’s motion to dismiss under
        Case 3:20-cv-00448-VAB Document 47 Filed 11/17/20 Page 2 of 3




Rule 12(b)(1) because the Plaintiff failed to demonstrate an actual or imminent injury

that is not merely conjectural or hypothetical. Mann Hospitality, LLC, 2020 WL

6018945, at *5.



                                         THE DEFENDANT,
                                         441 POST ROAD LLC



                                         By:          /s/ Nicholas P. Vegliante
                                                Melvin A. Simon, Esq.
                                                Federal Bar No.: ct05248
                                                Nicholas P. Vegliante, Esq.
                                                Federal Bar No.: ct28449
                                                Cohn Birnbaum & Shea P.C.
                                                100 Pearl Street. 12th Floor
                                                Hartford, CT 06103
                                                Telephone: (860) 493-2200
                                                Facsimile: (860) 727-0361
                                                E-mail: msimon@cbshealaw.com
                                                         nvegliante@cbshealaw.com




                                            2
           Case 3:20-cv-00448-VAB Document 47 Filed 11/17/20 Page 3 of 3




                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT

---------------------------------------------------------------x
DEBORAH LAUFER,                                                :
                                                               :
                  Plaintiff,                                   :   Case No. 3:20-cv-00448-VAB
v.                                                             :
                                                               :
441 POST ROAD LLC,                                             :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

        I hereby certify that on the 17th day of November, 2020, a copy of the foregoing

Notice of Supplemental Authority was filed electronically and served by mail on anyone

unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties

by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.




                                                        /s/ Nicholas P. Vegliante
                                                     Nicholas P. Vegliante
203107v2/06150-004




                                                         3
